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                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE

In re:
                                             Chapter 11
EBH TOPCO, LLC,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX



In re:
                                             Chapter 11
ELEMENTS BEHAVIORAL
HEALTH, INC.,                                Case No. 18-______ (___)

             Debtor.

Employer Tax I.D. No. XX-XXXXXXX



In re:
                                             Chapter 11
EBH HOLDING COMPANY, INC.,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
EBH BIG ROCK, INC.,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
SOCAL REHAB AND RECOVERY, INC.,
                                             Case No. 18-______ (___)
             Debtor.


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Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
THE SEXUAL RECOVERY
INSTITUTE, INC.,                             Case No. 18-______ (___)

             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
WESTSIDE SOBER LIVING
CENTERS, INC.,                               Case No. 18-______ (___)

             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
EHRMAN SUBSIDIARY CORP.,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
PROMAL2, INC.,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
PROMAL4, INC.,
                                             Case No. 18-______ (___)


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               Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
SBAR2, INC.,
                                             Case No. 18-______ (___)
               Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
PROMISES RESIDENTIAL TREATMENT
CENTER VI, INC.,                             Case No. 18-______ (___)

               Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
ASSURANCE TOXICOLOGY
SERVICES, LLC,                               Case No. 18-______ (___)

               Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
ELEMENTS SCREENING SERVICES, INC.,
                                             Case No. 18-______ (___)
               Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
TRS BEHAVIORAL CARE, INC.,


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                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
SPIRIT LODGE, LLC,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
SAN CRISTOBAL TREATMENT
CENTER, LLC,                                 Case No. 18-______ (___)

             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
EBH ACQUISITION SUBSIDIARY, INC.,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
EBH SERVICES OF FLORIDA, INC.,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
OUTPATIENT SERVICES FL, INC.,


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                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
EBH NORTHEAST SERVICES, INC.,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
INTENSIVE OUTPATIENT
SERVICES PA, INC.,                           Case No. 18-______ (___)

             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
WRIGHTSVILLE SERVICES, LLC,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
NE SOBER LIVING, INC.,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
NORTHEAST BEHAVIORAL


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SERVICES, INC.,                              Case No. 18-______ (___)

             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
THE RANCH ON THE PINEY RIVER, INC.,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
OUTPATIENT SERVICES TN, INC.,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
EBH SOUTHWEST SERVICES, INC.,
                                             Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11
ELEMENTS MEDICAL GROUP OF
UTAH, INC.,                                  Case No. 18-______ (___)

             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                             Chapter 11


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SOUTHEAST BEHAVIORAL HEALTH
SERVICES, INC.,                                  Case No. 18-______ (___)

                Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                                 Chapter 11
ELEMENTS MEDICAL GROUP OF
MISSISSIPPI, INC.,                               Case No. 18-______ (___)

                Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                                 Chapter 11
ELEMENTS MEDICAL GROUP OF
ARIZONA, INC.,                                   Case No. 18-______ (___)

                Debtor.

Employer Tax I.D. No. XX-XXXXXXX


             MOTION OF DEBTORS FOR ENTRY OF AN ORDER DIRECTING
              JOINT ADMINISTRATION OF RELATED CHAPTER 11 CASES

         The above-captioned debtors and debtors in possession (the “Debtors”) hereby move (the

“Motion”) for entry of an order, substantially in the form attached hereto as Exhibit A (the

“Order”), pursuant to section 105(a) of title 11 of the United States Code (the “Bankruptcy

Code”); Rule 1015(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”);

and Rule 1015-1 of the Local Rules of Bankruptcy Practice and Procedure of the United States

Bankruptcy Court for the District of Delaware (the “Local Rules”), directing the joint

administration of these chapter 11 cases and the consolidation thereof for procedural purposes

only. In support of the Motion, the Debtors rely upon the Declaration of Martin McGahan, Chief


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Restructuring Officer of EBH Topco, LLC, in Support of Chapter 11 Petitions and First Day

Pleadings, filed with the Court concurrently herewith (the “First Day Declaration”). In further

support of the Motion, the Debtors, by and through their undersigned counsel, respectfully

represent:

                                 JURISDICTION AND VENUE

         1.    This Court has jurisdiction to consider this Motion under 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for the

District of Delaware, dated as of February 29, 2012. This is a core proceeding under 28 U.S.C. §

157(b). Under Local Rule 9013-1(f), the Debtors consent to entry of a final order under Article

III of the United States Constitution. Venue of these cases and the Motion in this district is

proper under 28 U.S.C. §§ 1408 and 1409.

         2.    The statutory predicates for the relief requested herein are Bankruptcy Code

section 105(a), Bankruptcy Rule 1015(b), and Local Rule 1015-1.

                                        BACKGROUND

         3.    On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition in this Court commencing a case for relief under chapter 11 of the Bankruptcy Code (the

“Chapter 11 Cases”). The factual background regarding the Debtors, including their business

operations, their capital and debt structures, and the events leading to the filing of the Chapter 11

Cases, is set forth in detail in the First Day Declaration and fully incorporated herein by

reference.

         4.    The Debtors continue to manage and operate their business as debtors in

possession pursuant to Bankruptcy Code sections 1107 and 1108. No trustee or examiner has

been requested in the Chapter 11 Cases and no committees have yet been appointed.



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                                      RELIEF REQUESTED

         5.      By this Motion, the Debtors seek entry of an order directing the joint

administration of these Chapter 11 Cases and the consolidation thereof for procedural purposes

only. Many of the motions, applications, hearings, and orders that will arise in these Chapter 11

Cases will affect most, if not all, of the Debtors jointly. For that reason, the Debtors respectfully

submit that their interests, as well as the interests of their creditors and other parties in interest,

would be best served by the joint administration of these Chapter 11 Cases for procedural

purposes only.

         6.      The Debtors further seek entry of an order directing the Clerk of the Court to

maintain one file and one docket for all of these Chapter 11 Cases under the case of EBH Topco,

LLC. In addition, the Debtors seek the Court’s direction that separate docket entries be made on

the dockets of each Chapter 11 Case (except that of EBH Topco, LLC) substantially as follows:

                 “An order has been entered in this case directing the procedural
                 consolidation and joint administration of the chapter 11 cases of
                 EBH Topco, LLC and its affiliates that have concurrently
                 commenced chapter 11 cases. The docket in the chapter 11 case of
                 EBH Topco, LLC, Case No. 18-_____ (____), should be consulted
                 for all matters affecting this case.”

The Debtors further request that the caption of these Chapter 11 Cases be modified as follows to

reflect their joint administration:

                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:
                                                    Chapter 11
EBH TOPCO, LLC, et al.,1
                                                    Case No. 18-______ (___)
                 Debtors.
                                                    (Jointly Administered)




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1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are EBH Topco, LLC (6103), Elements Behavioral Health, Inc. (7176), EBH Holding Company, Inc.
(0370), EBH Big Rock, Inc. (1880), SoCal Rehab and Recovery, Inc. (3741), The Sexual Recovery Institute, Inc.
(1279), Westside Sober Living Centers, Inc. (5717), Ehrman Subsidiary Corp. (3958), PROMAL2, Inc. (1377),
PROMAL4, Inc. (2453), SBAR2, Inc. (9844), Promises Residential Treatment Center VI, Inc. (1112), Assurance
Toxicology Services, LLC (9612), Elements Screening Services, Inc. (0055), TRS Behavioral Care, Inc. (6343),
Spirit Lodge, LLC (1375), San Cristobal Treatment Center, LLC (1419), EBH Acquisition Subsidiary, Inc. (6132),
EBH Services of Florida, Inc. (6802), Outpatient Services FL, Inc. (9596), EBH Northeast Services, Inc. (3551),
Intensive Outpatient Services PA, Inc. (5581), Wrightsville Services, LLC (9535), NE Sober Living, Inc. (1955),
Northeast Behavioral Services, Inc. (8881), The Ranch on Piney River, Inc. (0195), Outpatient Services TN, Inc.
(5584), EBH Southwest Services, Inc. (5202), Elements Medical Group of Utah, Inc. (9820), Southeast Behavioral
Health Services, Inc. (1267), Elements Medical Group of Mississippi, Inc. (4545), and Elements Medical Group of
Arizona, Inc. (8468). The location of the Debtors’ mailing address is 5000 Airport Plaza Dr., Suite 100, Long Beach,
California 90815.

                                            BASIS FOR RELIEF

         7.      Pursuant to Bankruptcy Rule 1015(b), if two or more petitions are pending in the

same court by or against a debtor and an affiliate, “the court may order a joint administration of

the estates.” Local Rule 1015-1 further provides for joint administration of chapter 11 cases

when “the joint administration of two or more cases pending in [the] Court under title 11 is

warranted and will ease the administrative burden for the Court and the parties.” Each Debtor is

a wholly-owned or majority-owned direct or indirect subsidiary of EBH Topco, LLC. The

Debtors, therefore, are “affiliates” within the meaning of Bankruptcy Code section 101(2) and,

accordingly, this Court has the authority to grant the requested relief pursuant to Bankruptcy

Rule 1015(b) and Local Rule 1015-1.

         8.      Joint administration of these Chapter 11 Cases will ease the administrative burden

on this Court and all parties in interest. Joint administration of these Chapter 11 Cases will not

prejudice creditors or other parties in interest because joint administration is purely procedural

and will not impact the parties’ substantive rights.

         9.      Courts in this district routinely order joint administration of related chapter 11

cases for procedural purposes. In re ProNerve Holdings, LLC, Case No. 15-10373 (KJC) (Bankr.

D. Del. Feb. 26, 2015) [Docket No. 30]; In re Entegra Power Grp. LLC, Case No. 14-11859



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(PJW) (Bankr. D. Del. Aug. 6, 2014) [Docket No. 36]; In re Source Home Entm’t, LLC, Case

No. 14-11553 (KG) (Bankr. D. Del. Jun. 24, 2014) [Docket No. 35]; In re Optim Energy, LLC,

Case No. 14-10262 (BLS) (Bankr. D. Del. Feb. 12, 2014) [Docket No. 27]; In re Buffets Rests.

Holdings, Inc., Case No. 12-10237 (MFW) (Bankr. D. Del. Jan. 19, 2012) [Docket No. 43]; In re

DSI Holdings, Inc., Case No. 11-11941 (KJC) (Bankr. D. Del. June 28, 2011) [Docket No. 43].

Accordingly, based on the foregoing facts and authorities, the Debtors submit that the relief

requested in this Motion should be granted.

                                              NOTICE

         10.   Notice of this Motion will be given to: (a) the Office of the United States Trustee

for the District of Delaware; (b) the parties included on the Debtors’ consolidated list of thirty

(30) largest unsecured creditors; (c) counsel to the Prepetition First Lien Lender and DIP Lender;

(d) the Debtors’ prepetition lenders; (e) the Internal Revenue Service; (f) the Office of the United

States Attorney for the District of Delaware; (g) the Delaware Secretary of State; (h) any party

that has requested notice pursuant to Bankruptcy Rule 2002; and (i) all parties entitled to notice

pursuant to Local Rule 9013-1(m). The Debtors submit that, under the circumstances, no other or

further notice is required.

                                     NO PRIOR REQUEST

         11.   No prior motion for the relief requested herein has been made to this or any other

court.

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         WHEREFORE, the Debtors respectfully request that the Court enter an order,

substantially in the form attached hereto as Exhibit A, (i) directing the joint administration of

these Chapter 11 Cases and consolidating them for procedural purposes only pursuant to

Bankruptcy Code section 105(a), Bankruptcy Rule 1015(b), and Local Rule 1015-1; and (ii)

granting such other and further relief as the Court deems appropriate.

Dated: May 23, 2018                          Respectfully submitted,
       Wilmington, Delaware
                                             POLSINELLI PC

                                              /s/ Christopher A. Ward
                                             Christopher A. Ward (Del. Bar No. 3877)
                                             Shanti M. Katona (Del. Bar No. 5352)
                                             Stephen J. Astringer (Del. Bar No. 6375)
                                             222 Delaware Avenue, Suite 1101
                                             Wilmington, Delaware 19801
                                             Telephone: (302) 252-0920
                                             Facsimile: (302) 252-0921
                                             cward@polsinelli.com
                                             skatona@polsinelli.com
                                             sastringer@polsinelli.com

                                             -and-

                                             Jeremy R. Johnson (Pro Hac Vice Pending)
                                             600 3rd Avenue, 42nd Floor
                                             New York, New York 10016
                                             Telephone: (212) 684-0199
                                             Facsimile: (212) 684-0197
                                             jeremy.johnson@polsinelli.com

                                             Proposed Counsel to the Debtors and
                                             Debtors in Possession




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                                     Exhibit A

                               Proposed Order




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                 IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF DELAWARE

In re:
                                              Chapter 11
EBH TOPCO, LLC
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
ELEMENTS BEHAVIORAL HEALTH, INC.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
EBH HOLDING COMPANY, INC.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
EBH BIG ROCK, INC.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
SOCAL REHAB AND RECOVERY, INC.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX



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In re:
                                              Chapter 11
THE SEXUAL RECOVERY
INSTITUTE, INC.,                              Case No. 18-______ (___)

             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
WESTSIDE SOBER LIVING
CENTERS, INC.,                                Case No. 18-______ (___)

             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
EHRMAN SUBSIDIARY CORP.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
PROMAL2, INC.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
PROMAL4, INC.,
                                              Case No. 18-______ (___)
             Debtor.



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Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
SBAR2, INC.,
                                              Case No. 18-______ (___)
               Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
PROMISES RESIDENTIAL TREATMENT
CENTER VI, INC.,                              Case No. 18-______ (___)

               Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
ASSURANCE TOXICOLOGY
SERVICES, LLC,                                Case No. 18-______ (___)

               Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
ELEMENTS SCREENING SERVICES, INC.,
                                              Case No. 18-______ (___)
               Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
TRS BEHAVIORAL CARE, INC.,
                                              Case No. 18-______ (___)
               Debtor.


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Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
SPIRIT LODGE, LLC,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
SAN CRISTOBAL TREATMENT
CENTER, LLC,                                  Case No. 18-______ (___)

             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
EBH ACQUISITION SUBSIDIARY, INC.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
EBH SERVICES OF FLORIDA, INC.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
OUTPATIENT SERVICES FL, INC.,
                                              Case No. 18-______ (___)
             Debtor.


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Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
EBH NORTHEAST SERVICES, INC.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
INTENSIVE OUTPATIENT
SERVICES PA, INC.,                            Case No. 18-______ (___)

             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
WRIGHTSVILLE SERVICES, LLC,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
NE SOBER LIVING, INC.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
NORTHEAST BEHAVIORAL
SERVICES, INC.,                               Case No. 18-______ (___)



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             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
THE RANCH ON THE PINEY RIVER, INC.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
OUTPATIENT SERVICES TN, INC.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
EBH SOUTHWEST SERVICES, INC.,
                                              Case No. 18-______ (___)
             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
ELEMENTS MEDICAL GROUP OF
UTAH, INC.,                                   Case No. 18-______ (___)

             Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                              Chapter 11
SOUTHEAST BEHAVIORAL HEALTH
SERVICES, INC.,                               Case No. 18-______ (___)


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                   Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                                             Chapter 11
ELEMENTS MEDICAL GROUP OF
MISSISSIPPI, INC.,                                           Case No. 18-______ (___)

                   Debtor.

Employer Tax I.D. No. XX-XXXXXXX


In re:
                                                             Chapter 11
ELEMENTS MEDICAL GROUP OF
ARIZONA, INC.,                                               Case No. 18-______ (___)

                   Debtor.

Employer Tax I.D. No. XX-XXXXXXX


                   ORDER (I) DIRECTING JOINT ADMINISTRATION OF
                 CHAPTER 11 CASES, AND (II) GRANTING RELATED RELIEF

          Upon the motion (the “Motion”)1 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), for entry of an order (this “Order”) directing the joint

administration of these Chapter 11 Cases and the consolidation thereof for procedural purposes

only; and upon the First Day Declaration; and this Court having found that it has jurisdiction to

consider the Motion pursuant to 28 U.S.C. § 1334; and this Court having found that the Motion

is a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that venue of

these Chapter 11 Cases and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408

and 1409; and this Court having determined that the relief requested in the Motion is in the best

1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.


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interests of the Debtors, their estates, their creditors, and other parties in interest; and it appearing

that proper and adequate notice of the Motion has been given and that no other or further notice

is necessary; and this Court having reviewed the Motion and having heard statements in support

of the Motion at a hearing held before this Court (the “Hearing”); and this Court having

determined that the legal and factual bases set forth in the Motion and the First Day Declaration

and at the Hearing establish just cause for the relief granted herein; and any objections to the

relief requested in the Motion having been withdrawn or overruled on the merits; and after due

deliberation thereon and good and sufficient cause appearing therefor, it is HEREBY ORDERED

THAT:

         1.     The Motion is granted as set forth herein.

         2.     The above-captioned Chapter 11 Cases shall be jointly administered by the Court

and consolidated for procedural purposes only under the case of EBH Topco, LLC, Case No. 18-

_______ (___).

         3.     If, when filed, these Chapter 11 Cases were assigned to separate judges, all of the

Chapter 11 Cases shall be transferred to the judge presiding over the Chapter 11 Case of EBH

Topco, LLC, Case No. 18-_______ (___).

         4.     The caption of the jointly administered Chapter 11 Cases shall read as follows:

                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

In re:
                                                     Chapter 11
EBH TOPCO, LLC, et al.,      1

                                                     Case No. 18-______ (___)
                Debtors.
                                                     (Jointly Administered)




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1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are EBH Topco, LLC (6103), Elements Behavioral Health, Inc. (7176), EBH Holding Company, Inc.
(0370), EBH Big Rock, Inc. (1880), SoCal Rehab and Recovery, Inc. (3741), The Sexual Recovery Institute, Inc.
(1279), Westside Sober Living Centers, Inc. (5717), Ehrman Subsidiary Corp. (3958), PROMAL2, Inc. (1377),
PROMAL4, Inc. (2453), SBAR2, Inc. (9844), Promises Residential Treatment Center VI, Inc. (1112), Assurance
Toxicology Services, LLC (9612), Elements Screening Services, Inc. (0055), TRS Behavioral Care, Inc. (6343),
Spirit Lodge, LLC (1375), San Cristobal Treatment Center, LLC (1419), EBH Acquisition Subsidiary, Inc. (6132),
EBH Services of Florida, Inc. (6802), Outpatient Services FL, Inc. (9596), EBH Northeast Services, Inc. (3551),
Intensive Outpatient Services PA, Inc. (5581), Wrightsville Services, LLC (9535), NE Sober Living, Inc. (1955),
Northeast Behavioral Services, Inc. (8881), The Ranch on Piney River, Inc. (0195), Outpatient Services TN, Inc.
(5584), EBH Southwest Services, Inc. (5202), Elements Medical Group of Utah, Inc. (9820), Southeast Behavioral
Health Services, Inc. (1267), Elements Medical Group of Mississippi, Inc. (4545), and Elements Medical Group of
Arizona, Inc. (8468). The location of the Debtors’ mailing address is 5000 Airport Plaza Dr., Suite 100, Long Beach,
California 90815.

         5.      The Clerk of this Court shall make a docket entry in each Chapter 11 Case (except

that of EBH Topco, LLC) substantially as follows:

                 “An order has been entered in this case directing the procedural
                 consolidation and joint administration of the chapter 11 cases of
                 EBH Topco, LLC and its affiliates that have concurrently
                 commenced chapter 11 cases. The docket in the chapter 11 case of
                 EBH Topco, LLC, Case No. 18-_____ (___), should be consulted
                 for all matters affecting this case.”

         6.      The Debtors are authorized and empowered to take all actions necessary to

effectuate the relief granted in this Order in accordance with the Motion.

         7.      Notice of the Motion as provided therein shall be deemed good and sufficient, and

the requirements of Bankruptcy Rule 6004(a) and the Local Rules are satisfied by such notice.

         8.      Notwithstanding the applicability of any Bankruptcy Rule, the terms and

conditions of this Order shall be immediately effective and enforceable upon its entry.

         9.      This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the interpretation, implementation, or enforcement of this Order.

         10.     Notwithstanding the relief granted in this Order, any creditor filing a proof of

claim against any Debtor shall file such proof of claim in the Chapter 11 Case of each Debtor to

which such claim relates.




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         11.   Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these Chapter 11 Cases.



Dated: ________, 2018
       Wilmington, Delaware

                                     ____________________________________________
                                     UNITED STATES BANKRUPTCY JUDGE




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